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~HJ""'O'   USAO2017R02oo


                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF MARYLAND                             ' ••   ,   I




    UNITED STATES OF AMERICA                          *
                                                      *
            v.                                        *      CRIMINAL     NO.   /0 c (i c r I q S"
                                                      *
    KYLE STEPHEN THOMPSON,                           *       (Production of Child Pornography,
                                                     *       18 U.S.c. ~ 2251(a); Forfeiture,
                      Defendant                      *       18 U.S.c. ~ 2253, 28 U.S.c. ~ 2461(c))
                                                     *
                                                     *
                                                  *******

                                            INDICTMENT

                                                COUNT ONE
                                  (Production    of Child Pornography)

           The Grand Jury for the District of Maryland charges that:

           On or about May 9, 2015, in the District of Maryland, the defendant,

                                    KYLE STEPHEN THOMPSON,

  knowingly employed, used, persuaded, induced, enticed, and coerced a minor, Victim I, to

  engage in sexually explicit conduct as defined in Title 18, United States Code, Section 2256(2),

  for the purpose of producing a visual depiction of such conduct, and the visual depiction was

  produced using materials that had been mailed, shipped, and transported in and affecting

  interstate and foreign commerce by any means, including by computer.


   18 U.S.C.     S 2251 (a)
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                                        COUNT TWO
                              (Production of Child Pornography)

       The Grand Jury for the District of Maryland further charges that:

       On or about May 19,2015, in the District of Maryland, the defendant,

                                KYLE STEPHEN THOMPSON,

knowingly employed, used, persuaded, induced, enticed, and coerced a minor, Victim 2, to

engage in sexually explicit conduct as defined in Title 18, United States Code, Section 2256(2),

for the purpose of producing a visual depiction of such conduct, and the visual depiction was

produced using materials that had been mailed, shipped, and transported in and affecting

interstate and foreign commerce by any means, including by computer.


18 U.S.c.   S 2251 (a)




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                                       COUNT THREE
                              (Production of Child Pornography)

       The Grand Jury for the District of Maryland further charges that:

       On or about September 27,2015, at approximately 7:02 p.m., in the District of Maryland,

the defendant,

                                KYLE STEPHEN THOMPSON,

knowingly employed, used, persuaded, induced, enticed, and coerced a minor, Victim 1, to

engage in sexually explicit conduct as defined in Title 18, United States Code, Section 2256(2),

for the purpose of producing a visual depiction of such conduct, and the visual depiction was

produced using materials that had been mailed, shipped, and transported in and affecting

interstate and foreign commerce by any means, including by computer.


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                                        COUNT FOUR
                              (Production of Child Pornography)

       The Grand Jury for the District of Maryland further charges that:

       On or about September 27,2015, at approximately 8:51 p.m., in the District of Maryland,

the defendant,

                                KYLE STEPHEN THOMPSON,

knowingly employed, used, persuaded, induced, enticed, and coerced a minor, Victim I, to

engage in sexually explicit conduct as defined in Title 18, United States Code, Section 2256(2),

for the purpose of producing a visual depiction of such conduct, and the visual depiction was

produced using materials that had been mailed, shipped, and transported in and affecting

interstate and foreign commerce by any means, including by computer.


18 U.S.c.   S 2251(a)




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                                        COUNT FIVE
                              (Production of Child Pornography)

       The Grand Jury for the District of Maryland further charges that:

       On or about February 27,2016, in the District of Maryland, the defendant,

                                KYLE STEPHEN THOMPSON,

knowingly employed, used, persuaded, induced, enticed, and coerced a minor, Victim 3, to

engage in sexually explicit conduct as defined in Title 18, United States Code, Section 2256(2),

for the purpose of producing a visual depiction of such conduct, and the visual depiction was

produced using materials that had been mailed, shipped, and transported in and affecting

interstate and foreign commerce by any means, including by computer.


18 U.S.c.   S 2251(a)




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                                         COUNT SIX
                              (Production of Child Pornography)

       The Grand Jury for the District of Maryland further charges that:

       On or about March 4, 2016, at approximately 6:23 p.m., in the District of Maryland, the

defendant,

                                KYLE STEPHEN THOMPSON,

knowingly employed, used, persuaded, induced, enticed, and coerced a minor, Victim I, to

engage in sexually explicit conduct as defined in Title 18, United States Code, Section 2256(2),

for the purpose of producing a visual depiction of such conduct, and the visual depiction was

produced using materials that had been mailed, shipped, and transported in and affecting

interstate and foreign commerce by any means, including by computer.


18 U.S.c.    S 2251 (a)




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                                        COUNT SEVEN
                              (Production of Child Pornography)

       The Grand Jury for the District of Maryland further charges that:

       On or about March 4, 2016, at approximately 7:22 p.m., in the District of Maryland, the

defendant,

                                KYLE STEPHEN THOMPSON,

knowingly employed, used, persuaded, induced, enticed, and coerced a minor, Victim I, to

engage in sexually explicit conduct as defined in Title 18, United States Code, Section 2256(2),

for the purpose of producing a visual depiction of such conduct, and the visual depiction was

produced using materials that had been mailed, shipped, and transported in and affecting

interstate and foreign commerce by any means, including by computer.


18 U.S.c.    9 2251 (a)




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                                        COUNT EIGHT
                              {Production of Child Pornography)

       The Grand Jury for the District of Maryland further charges that:

       On or about March 4, 2016, at approximately 7:40 p.m., in the District of Maryland, the

defendant,

                                KYLE STEPHEN THOMPSON,

knowingly employed, used, persuaded, induced, enticed, and coerced a minor, Victim I, to

engage in sexually explicit conduct as defined in Title 18, United States Code, Section 2256(2),

for the purpose of producing a visual depiction of such conduct, and the visual depiction was

produced using materials that had been mailed, shipped, and transported in and affecting

interstate and foreign commerce by any means, including by computer.


18 u.s.c.    S 2251 (a)




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                                        COUNT NINE
                              (Production of Child Pornography)

       The Grand Jury for the District of Maryland further charges that:

       On or about March 4,2016, at approximately 7:49 p.m., in the District of Maryland, the

defendant,

                                KYLE STEPHEN THOMPSON,

knowingly employed, used, persuaded, induced, enticed, and coerced a minor, Victim I, to

engage in sexually explicit conduct as defined in Title 18, United States Code, Section 2256(2),

for the purpose of producing a visual depiction of such conduct, and the visual depiction was

produced using materials that had been mailed, shipped, and transported in and affecting

interstate and foreign commerce by any means, including by computer.


18 U.S.c.    S 2251 (a)




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                                         COUNT TEN
                              (Production of Child Pornography)

       The Grand Jury for the District of Maryland further charges that:

       On or about March 4, 2016, at approximately 10:51 p.m., in the District of Maryland, the

defendant,

                                KYLE STEPHEN THOMPSON,

knowingly employed, used, persuaded, induced, enticed, and coerced a minor, Victim 1, to

engage in sexually explicit conduct as defined in Title 18, United States Code, Section 2256(2),

for the purpose of producing a visual depiction of such conduct, and the visual depiction was

produced using materials that had been mailed, shipped, and transported in and affecting

interstate and foreign commerce by any means, including by computer.


18 U.S.C. ~ 2251(a)




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                                      COUNT ELEVEN
                              (Production of Child Pornography)

       The Grand Jury for the District of Maryland further charges that:

       On or about March 5, 2016, at approximately 8:23 a.m., in the District of Maryland, the

defendant,

                                KYLE STEPHEN THOMPSON,

knowingly employed, used, persuaded, induced, enticed, and coerced a minor, Victim I, to

engage in sexually explicit conduct as defined in Title 18, United States Code, Section 2256(2),

for the purpose of producing a visual depiction of such conduct, and the visual depiction was

produced using materials that had been mailed, shipped, and transported in and affecting

interstate and foreign commerce by any means, including by computer.


18 U.S.C. 92251(a)




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                                      COUNT TWELVE
                              (Production of Child Pornography)

       The Grand Jury for the District of Maryland further charges that:

       On or about March 5, 2016, at approximately 8:27 a.m., in the District of Maryland, the

defendant,

                                KYLE STEPHEN THOMPSON,

knowingly employed, used, persuaded, induced, enticed, and coerced a minor, Victim I, to

engage in sexually explicit conduct as defined in Title 18, United States Code, Section 2256(2),

for the purpose of producing a visual depiction of such conduct, and the visual depiction was

produced using materials that had been mailed, shipped, and transported in and affecting

interstate and foreign commerce by any means, including by computer.


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                                     COUNT THIRTEEN
                              (Production of Child Pornography)

       The Grand Jury for the District of Maryland further charges that:

       On or about October 8, 2016, in the District of Maryland, the defendant,

                                KYLE STEPHEN THOMPSON,

knowingly employed, used, persuaded, induced, enticed, and coerced a minor, Victim 1, to

engage in sexually explicit conduct as defined in Title 18, United States Code, Section 2256(2),

for the purpose of producing a visual depiction of such conduct, and the visual depiction was

produced using materials that had been mailed, shipped, and transported in and affecting

interstate and foreign commerce by any means, including by computer.


18 U.S.C.   S 2251(a)




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                                    COUNT FOURTEEN
                              (Production of Child Pornography)

       The Grand Jury for the District of Maryland further charges that:

       On or about January 13,2017, in the District of Maryland, the defendant,

                                KYLE STEPHEN THOMPSON,

knowingly employed, used, persuaded, induced, enticed, and coerced a minor, Victim I, to

engage in sexually explicit conduct as defined in Title 18, United States Code, Section 2256(2),

for the purpose of producing a visual depiction of such conduct, and the visual depiction was

produced using materials that had been mailed, shipped, and transported in and affecting

interstate and foreign commerce by any means, including by computer.


18 U.S.c.   S 2251 (a)




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                                      COUNT FIFTEEN
                              (Production of Child Pornography)

       The Grand Jury for the District of Maryland further charges that:

       On or about January 27,2017, in the District of Maryland, the defendant,

                                KYLE STEPHEN THOMPSON,

knowingly employed, used, persuaded, induced, enticed, and coerced a minor, Victim I, to

engage in sexually explicit conduct as defined in Title 18, United States Code, Section 2256(2),

for the purpose of producing a visual depiction of such conduct, and the visual depiction was

produced using materials that had been mailed, shipped, and transported in and affecting

interstate and foreign commerce by any means, including by computer.


18 U.S.c.    S 2251(a)




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                                       COUNT SIXTEEN
                              (Production of Child Pornography)

       The Grand Jury for the District of Maryland further charges that:

       On or about January 28,2017, at approximately 6:26 a.m., in the District of Maryland,

the defendant,

                                KYLE STEPHEN THOMPSON,

knowingly employed, used, persuaded, induced, enticed, and coerced a minor, Victim I, to

engage in sexually explicit conduct as defined in Title 18, United States Code, Section 2256(2),

for the purpose of producing a visual depiction of such conduct, and the visual depiction was

produced using materials that had been mailed, shipped, and transported in and affecting

interstate and foreign commerce by any means, including by computer.


18 U.S.c.    S 2251(a)




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                                    COUNT SEVENTEEN
                              (Production of Child Pornography)

       The Grand Jury for the District of Maryland further charges that:

       On or about January 28, 2017, at approximately 6:44 a.m., in the District of Maryland,

the defendant,

                                KYLE STEPHEN THOMPSON,

knowingly employed, used, persuaded, induced, enticed, and coerced a minor, Victim I, to

engage in sexually explicit conduct as defined in Title 18, United States Code, Section 2256(2),

for the purpose of producing a visual depiction of such conduct, and the visual depiction was

produced using materials that had been mailed, shipped, and transported in and affecting

interstate and foreign commerce by any means, including by computer.


18 U.S.C.   S 2251(a)




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                                    COUNT EIGHTEEN
                              (Production of Child Pornography)

       The Grand Jury for the District of Maryland further charges that:

        On or about January 28, 2017, at approximately 10: 17 a.m., in the District of Maryland,

the defendant,

                                KYLE STEPHEN THOMPSON,

knowingly employed, used, persuaded, induced, enticed, and coerced a minor, Victim I, to

engage in sexually explicit conduct as defined in Title 18, United States Code, Section 2256(2),

for the purpose of producing a visual depiction of such conduct, and the visual depiction was

produced using materials that had been mailed, shipped, and transported in and affecting

interstate and foreign commerce by any means, including by computer.


18 U.S.C.   S 2251(a)




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                                     FORFEITURE ALLEGATION

           The Grand Jury for the District of Maryland further finds that:

            I.     Pursuant to Title IS, United States Code, Section 2253, and Title 2S, United

    States Code, Section 2461(c), upon conviction of the offenses set forth in Counts One through

    Eighteen of this Indictment, in violation of Title IS, United States Code, Section 225 I(a), the

    defendant,

                                    KYLE STEPHEN THOMPSON,

    shall forfeit to the United States of America:

                   a.      Any visual depiction described in Title IS, United States Code, Section

    225 I, or any book, magazine, periodical, film, videotape, or other matter which contains any

    such visual depiction, which was produced, transported, mailed, shipped or received in violation

    of Title IS, United States Code, Chapter 110;

                   b.      Any property, real or personal, constituting or traceable to gross profits or

    other proceeds obtained from the offenses; and

                   c.      Any property, real or personal, used or intended to be used to commit or to

    promote the commission of the offenses.

           2.      If any of the property described above, as a result of any act or omission of the

    defendant:

                   a.      cannot be located upon the exercise of due diligence;

                   b.      has been transferred or sold to, or deposited with, a third party;

                   c.      has been placed beyond the jurisdiction of the court;

                   d.      has been substantially diminished in value; or




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               e.      has been commingled with other property which cannot be divided

                       without difficulty,

the United States of America shall be entitled to forfeiture of substitute property pursuant to Title

21, United States Code, Section 853(P), as incorporated in Title 18, United States Code, Section

2253(b).


18 U.S.C. ~ 2253
28 U.S.c. ~ 2461(c)


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                                                      ROD J. ROSENSTEIN
                                                      United States Attorney

A TRUE BILL:


    SIGNATURE REDACTED
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Forep~on                              ~               Date




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